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                                EXHIBIT O




                                                                                   EXHIBIT 0
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                                                                                              Coordinates: 41°47′45″N 87°36′40″W




  Washington Park (Chicago park)
  Washington Park (formerly Western Division of South Park, also
                                                                                           Washington Park
  Park No. 21) is a 372-acre (1.5 km2)[2] park between Cottage Grove
  Avenue and Martin Luther King Drive, (originally known as "Grand                U.S. National Register of Historic
  Boulevard") located at 5531 S. Martin Luther King Dr. in the Washington                      Places
  Park community area on the South Side of Chicago in Cook County,                         U.S. Historic district
  Illinois. It was named for President George Washington in         1880.[3]
  Washington Park is the largest of four Chicago Park District parks named
  after persons surnamed Washington (the others are Dinah Washington
  Park, Harold Washington Park and Washington Square Park, Chicago).
  Located in the park is the DuSable Museum of African American History.
  This park was the proposed site of the Olympic Stadium and the Olympic
  swimming venue for Chicago's bid to host the 2016 Summer Olympics.
  Washington Park was added to the National Register of Historic Places on
  August 20, 2004.
                                                                                       Pond in Washington Park


    Contents
    Formation
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  Formation                                                                    Location                5531 S. King Dr.,
  Washington Park was conceived by Paul Cornell, a Chicago real estate                                 Chicago, Illinois
  magnate who had founded the adjoining town of Hyde Park. Cornell had         Coordinates             41°47′45″N
  lobbied the Illinois General Assembly to establish the South Park                                    87°36′40″W
  Commission. After his efforts succeeded in 1869, the South Park Board of
                                                                               Area                    380 acres
  Commissioners identified more than 1,000 acres (4.0 km2) south of
                                                                                                       (1.5 km2)
  Chicago for a large park and boulevards that would connect it with
                                                                               Built                   1870
  downtown and the extant West Park System.[5] Originally called South
  Park, the property was composed of eastern and western divisions, now        Architect               Olmsted,
  bearing the names Jackson and Washington Parks and the Midway                                        Frederick Law;
  Plaisance.[6] Cornell hired Frederick Law Olmsted and his partner, Calvert                           Burnham, Daniel
  Vaux, to lay out the park in the 1870s. Their blueprints were destroyed in                           H.
  the Great Chicago Fire of 1871.[2]                                           Architectural style Beaux Arts, Art
                                                                                                   Deco

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                                                                                  MPS                    Chicago Park
                                                                                                         District MPS
                                                                                  NRHP reference #       04000871 (https://
                                                                                                         npgallery.nps.gov/
                                                                                                         AssetDetail/NRIS/
                                                                                                         04000871)[1]
    Map of Washington park in the South Side of Chicago                           Added to NRHP          August 20, 2004

                                                                              When Olmsted first examined the property, he
                                                                              saw a field filled with bare trees and decided to
                                                                              maintain its character by creating a meadow
    Southdown sheep grazing before they were disallowed circa 1920[4]         surrounded by trees. His plan for the park
                                                                              called for sheep to graze as a means of keeping
                                                                              the grass short. Cornell convinced Olmsted to
                                                                              include sporting areas, although Olmsted
                                                                              wanted a more natural feel to the park, which
                                                                              included a 13-acre (53,000 m2) lake.[7] The
                                                                              Western division was renamed Washington
    Lagoon in Washington Park                                                 Park in 1881.[6]




    Washington Park Conservatory

                                                                                                    Rock garden in
                                                                                                    Washington Park


    Washington Park Refectory                                                 Olmsted designed the park to have two broad
                                                                              boulevards cutting through it, making it part of
                                                                              Chicago's boulevard system. From Washington
  Park, one can take the Midway east to Jackson Park, Garfield Boulevard west to Chicago Midway International Airport, or
  Drexel Boulevard north to the central city.

  Horace William Shaler Cleveland executed the plans within the limitations of the financial setbacks from the fire
  (including the loss of tax rolls) and the 1873 depression.[2] Olmsted's vision for Washington Park was generally realized.[8]
  However, since spending for the park was diverted after the Great Chicago Fire in 1871. The loss of financial backing and
  difficulty in levying taxes after the fire meant that a water park could not be built on the property.[8] From 1897 until the
  1930s the park housed an impressive conservatory and ornate sunken garden designed by D. H. Burnham & Co. at 56th
  Street and Cottage Grove.[9] The Washington Park Conservatory, like those of other city parks such as Humboldt and
  Douglas Parks, was torn down in the 1930s due to limited resources as a result of the Great Depression. This left Lincoln
  Park and Garfield Park as Chicago's main Conservatories.[10] One of the earliest improvements was the "South Open
  Green," a pastoral meadow with grazing sheep, also used as a ball field. Architect Daniel H. Burnham's firm designed the
  1880 limestone round stables, the 1881 refectory, and the 1910 administrative headquarters for the South Park
  Commission. Other early attractions to the park included riding stables, cricket grounds, baseball fields, a toboggan slide,
  archery ranges, a golf course, bicycle paths, row boats, horseshoe pits, greenhouses, a rose garden, a bandstand, a small

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  zoo featuring six alligators, and a lily pond.[4] The lily pond (pictured left) was a particularly enticing attraction because
  few had seen such a site.[3] Today, the administrative building houses DuSable Museum of African American History.[6]
  The park has retained its environmental appeal with continuing visionary support of the Burnham Plan which supported
  the maintenance of a park system.[11]


  History
                                           On December 6, 1879, former U.S. President Ulysses Grant took part in a tree planting
                                           ceremony in the park. A memorial boulder with a plaque (both of which have been
                                           removed from the park, along with the tree) commemorated the event.[12] In the 1920s
                                           black semiprofessional baseball teams played at Washington Park.[2] George Lott began
                                           playing tennis at the park.[13]

    Washington Park Lily Pond              At the southeast corner of the park, at 61st and Cottage Grove, Washington Park Race
                                           Track operated between 1883 and 1905. It was one of the largest and grandest horse
                                           racetracks of its time. A nine-hole golf course was built in the infield and several of its
                                           buildings survive today as part of the Park District. This includes the stables used by
                                           Chicago Police at 58th and Cottage Grove. The racetrack closed after Illinois outlawed
                                           gambling, and the name was transferred to a second track in Homewood, Illinois. (See
                                           the Washington Park Race Track Wikipedia site for photos and references.)

                                           The USA Cross Country Championships were held in the park in 1933, 1957, 1958, 1962,
                                           1963, 1964, 1967, 1970 and 1972.[14]

                                           Washington Park was a site of tension and conflict arising from the demographic

    General Grant's Tree                   changes resulting from the African American expansion into the neighborhood in the
                                           period following the First World War.[2] The park has since 1961 hosted the DuSable
                                           Museum of African American History, a leader in the promotion of the history, art and
  culture of African American heritage.[15]


  Today
  Washington Park is listed on the National Register of Historic Places as a United
  States Registered Historic District. Its National Register of Historic Places Multiple
  Property Submission consisted of 3,670 acres (14.9 km2) containing 15 contributing
  buildings, 28 contributing structures, and 8 contributing objects.[16] Interesting
  sights in the Park include the DuSable Museum of African American History and its
  sculpture garden, the Lorado Taft sculpture Fountain of Time, and an
  architecturally distinctive National Guard armory.[17] Washington Park is a social
                                                                                                    DuSable Museum - 2007Jan07
  center of the South Side and hosts many festivals in the summer, including
  Chicago's best organized cricket league and the terminus of the Bud Billiken Parade
  and Picnic. The largest 16" softball league in Chicago is played there on Sundays
  (called "Sunday's Best Softball League"). There are 34 teams who play on
  13 diamonds. There is also a weekday evening league.

                                                                                                    Fountain of Time
  2016 Olympic bid

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  On September 21, 2006, Mayor Richard M. Daley announced that an Olympic Stadium was being proposed for
  Washington Park as part of Chicago's bid for the 2016 Summer Olympics (The International Olympic Committee requires
  cities have a dome with a seating capacity of at least 80,000 in order to be considered as summer Olympics hosts). The
  stadium would have seated 95,000 initially for the games, and would have been converted to a 10,000-seat below-ground
  arena for track-and-field and cultural events after the Olympics. The cost was estimated to be at least $300–400 million
  (USD).[18] The plan replaced the initial dual stadium opening ceremony facility.[19][20][21]

  Additional details about the plan included new permanent hockey fields, use of Jones Armory, and new pedestrian
  juncture between the two halves of the park by tunneling part of Morgan Drive (55th).[22][23] A later December 2008 plan
  added the olympic swimming venue to the park.[24] The plan faced opposition from those holding the view that
  Washington Park's listing on the National Register of Historic Places could not have survived the execution of this
  Olympic plan. In addition to the opposition, the plan faced constraints because of the park's landmark status, which
  precluded federal money from being used to build a temporary stadium in the park.[22] The decision, in October 2009, to
  award the 2016 Summer Games to Rio de Janeiro halted these plans.[25]


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       Washington Park Quality-of-Life Neighborhood Planning (http://www.washingtonparkncp.org/home.aspx)


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  Washington Park Race Track
  Washington Park Race Track was a popular horse racing venue in the
  Chicago metropolitan area from 1884 until 1977. It had two locations during its        Washington Park Race
  existence. It was first situated in what is the current location of the Washington                   Track
  Park Subdivision of the Woodlawn community area of Chicago in Cook County,
  Illinois, United States. This is located immediately south of both the current
  Washington Park community area and Washington Park. The track was later
  relocated to Homewood, Illinois, which is also in Cook County.

  The original track and its accompanying Jockey Club were social draws in the
  late 19th century, but modern developments and changes in the law led to the
  decline of both. In its prime, the track was an especially important social
  gathering place on opening day and the day of the American Derby, which               Washington Park Race Track, c.
  ranked as one of Horse racing's highest purses. The Jockey club, designed by                      1903.
  Solon Spencer Beman, hosted a social gathering led by General Philip Sheridan        Location        61st Street and
  who was an early leader of the track and club. The track was closed and                              Cottage Grove, Cook
  reopened according to the contemporary state and local laws on gambling and                          County, Illinois[1]
  eventually waned in popularity and social importance.                                Coordinates 41°46′55″N
                                                                                                   87°36′39″W
  Over the years, numerous famous horses and jockeys appeared at the track. In
  the 19th century, notable horses of the time, such as Emperor of Norfolk and         Owned by        Washington Park
  Domino raced. In the 20th century, some of the most notable Thoroughbreds                            Jockey Club
  to race at Washington Park included Triple Crown winners Citation and                Date            1884
  Whirlaway. Other notable horses included Native Dancer and Swaps, who each           opened
  won legs of the Triple Crown. Jockey Eddie Arcaro won both the 1948 and 1953
                                                                                       Date closed 1977
  American Derby races at the track. In addition to the American Derby, several
  other notable graded stakes races were run at the track such as the Stars and Stripes Turf Handicap and the Washington
  Park Handicap. In addition, notable match races were held at the track.




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  Original track
  In 1883, a group of about 500 Chicagoans, led by General Philip Sheridan, banded together to create the Washington Park
  Jockey Club. Selecting a location at 61st and Cottage Grove, the Club opened and operated the Washington Park Race
  Track, valued at $150,000, the following year, claiming it to be "the Midwest's preeminent track."[2] The track was part of
  the long tradition of constructing special facilities for sporting events and public assembly in the Chicago parks.[3] At that
  time it was fashionable for the social elite to maintain close ties to equestrian sports. Some owned Thoroughbreds and
  thus were members of the Washington Park Jockey Club.[4] The track's clubhouse, which was completed in 1896, was
  designed by Solon Spencer Beman, and C. B. McDonald built a short nine-hole club members' golf course in the infield of
  the track.[5]



  Major races
                                       Each June, the track sponsored the American Derby, which had a purse ranked among the
                                       highest in the country. When Washington Park Race Track first organized the American
                                       Derby in 1883, General Philip Sheridan served as its first President.[6] By 1893, the
                                       American Derby was the 2nd richest American race in the 19th century.[2] Both The
                                       American Derby and Opening Day (the first race of the season)[7] became important social
                                       calendar dates. Residents of elite late 19th century neighborhoods organized a number of
                                       related public activities outside the track grounds, including the annual Washington Park
                                       Race Track opening day parade.[8]
    Grandstands at original
    track, c. 1900                     Horse racing was not the only draw of the track. In 1900, a race was staged at the track
                                       between a gasoline-powered automobile and an electrically powered automobile. At the
                                       time, there were more electric cars in the country than gasoline-powered ones. The race in
  Chicago was the first time a gasoline-powered car beat an electric-powered one in a race.



  Decline and closure of the original track
  The track ran into difficulties when Hempstead Washburne was elected Mayor of Chicago in 1892. In 1893, he began a
  gambling reform campaign, which included a goal of closing all race tracks in Chicago. His campaign eventually resulted
  in the 1894 closure of Washington Park Race Track,[2] although the track reopened in 1898. It remained open until 1905,
  when the state of Illinois banned gambling and stopped all horse racing.[2] By that time, the prestige of the club had
  declined, independently of Washburne's reform movement, because more modern and spacious golf courses drew the
  members to other locations, and the residential dispersion of elite members from the community area made the club less
  important.[5] However, the stables used by the track were not torn down and currently form a portion of the DuSable
  Museum of African-American History.[9]


  New track
  In 1926, a second Washington Park Race Track opened up in south suburban Homewood.[2] The new Washington Park
  Race Track was located west of Halsted Street just outside Homewood village bounds. The Illinois Central Railroad built a
  spur line directly between Chicago and the newly relocated track.[10] The relocated track continued to be a famous and
  popular attraction.[11] The inaugural meeting of organizers was July 3, 1926.[12] The new track was constructed amongst a
  construction boom of racetracks in the United States during the 1920s, which included fifteen new large racetracks
  constructed during the decade. Others constructed at this time were Arlington Park nearby in Chicago and Hialeah Park in
  Florida.[13]

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                                                     Benjamin F. Lindheimer purchased Washington Park Race Track in 1935 and
                                                     owned it until his death in 1960.[14] Long involved with the business, adopted
                                                     daughter Marjorie Lindheimer Everett then took over management of the
                                                     racetracks.[15]

                                                     The American Derby was also reborn at the new track, and was run at
                                                     Washington through 1957, when it was moved to Arlington Park, in northwest
    A diagram of the "new" race track in             suburban Arlington Heights.[16] However, racing venues had previously shifted
    1977, before the grandstand                      between Chicago-area tracks. For example, in 1943, Arlington Park shifted its
    burned.                                          major races to Washington Park as a result of curtailed racing due to World
                                                     War II.[2]

  Another significant race run at the new track was the Grade 2 stakes Washington Park Handicap for three-year-olds and
  up. It was first held at Washington Park in 1926, and continued to be held there until 1958, when it was moved to
  Arlington Park, where it continues to be held to the present day and commemorates the Washington Park racetrack.[17]

  The new track hosted a number of special races between famous horses of the day. On August 29, 1945 a match race
  between Busher and Durazna was held at the racetrack. The distance was one mile, with a purse of $25,000.00. Busher
  won by almost two lengths, after the lead changed several times during the race.[18] On August 31, 1955, Washington Park
  hosted a match race between Nashua and Swaps with a distance of a mile and a quarter. The purse was $100,000.00.
  Nashua won by several lengths, having led the entire race. The race was well attended, and attracted reporters from across
  the country. Nashua went on to be named Horse of the Year for 1955.[19][20]

  However, in spite of popular events, the track was not without scandals and allegations of misdeeds. For example, in 1970,
  Marge Lindheimer Everett, manager of both Arlington and Washington Park, confessed to having bribed Illinois Governor
  Otto Kerner to gain premium racing dates.[2]

  Washington Park Race Track's grandstand burned on the night of February 5, 1977,[21] putting the track out of business.
  The property was sold and redeveloped in 1992 for commercial and residential use.[10]


  Horses who raced at Washington Park
       Emperor of Norfolk won the 1888 American Derby[22]
       Domino won the 1893 Hyde Park Stakes[23]
       Whirlaway won the 1941 American Derby[22]
       Citation won the 1948 American Derby in the same year he won the Triple Crown, with Eddie Arcaro up[24][22]
       Coaltown won the 1949 Whirlaway Stakes, setting a new world mile mark while doing so[25]
       Native Dancer won the 1953 American Derby, with Eddie Arcaro up[22]
       Swaps won the 1956 Washington Park Handicap[26] and the 1955 American Derby, where he set the record for that
       race that still stood in 2006.[16]
       T. V. Lark won the American Derby and Washington Park Handicap in 1961[27]


  Other stakes races run at the racetrack
       Sheridan Stakes began in 1884, ran at the old and new racetracks[28]
       Washington Park Handicap began 1926, moved to Arlington Park in 1958[29]
       Washington Park Futurity Stakes - inaugurated in 1937, it was a race for two-year-olds. In 1959, the race was moved
       to Chicago's Arlington Park race track,[30] and in 1962 was merged with the Arlington Futurity Stakes to create the
       Arlington-Washington Futurity Stakes.[31] It is now the Arlington-Washington Breeders' Cup Futurity.[32]
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       Stars and Stripes Handicap only ran at second Washington Park in 1943, 1944 and 1945[33] and again in 1958 and
       1959[34]
       Arlington Handicap ran at Washington Park in 1943, 1944 and 1945[35]
       Queen Elizabeth Handicap began in 1946 (ran as the Misty Isle Handicap from 1946 to 1958)[36]
       Whirlaway Handicap run 1946 through 1952.[37] [38]


  Notes
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   ROUNDHOUSE KICK

   Chicago’s DuSable Museum of African American History
   converts a horse stable into a powerful space
   By MATTHEW MESSNER (@MESSNERMATTHEW) • December 29, 2017

     Architecture        Art     Midwest       News        Preservation




A web of timber supports the museum's soaring dome. (Courtesy Expo Chicago)


   Situated just one block west of the architecturally rich University of Chicago, the
   DuSable Museum of African American History is undertaking a major preservation
   effort. Located directly across from the Daniel Burnham–designed DuSable, the
   Roundhouse, a former horse stable also designed by Burnham, has laid vacant for over
   40 years. Yet over the past decade, the DuSable Museum has worked to convert the
   heavy timber and stone structure into additional exhibition space.
https://archpaper.com/2017/12/chicagos-dusable-museum-roundhouse/                                                      1/4
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   The DuSable Museum began working on converting the building in the mid- 2000s
   only to have the project stall thanks to the economic recession in 2008. By 2009, a
   renovation of the building’s exterior was complete, but the interior was left far from the
   museum-quality space the DuSable was hoping to achieve. To bring the 61,000-square-
   foot space up to museum standards, it would cost upward of $35 million. Unable to
   raise those funds, the project has taken a new direction, which will see scaled-back
   goals completed in the coming years.

   Starting with a $582,000 outdoor space, the Roundhouse is now able to host events and
   exhibitions for the first time. Designed by Chicago-based Site Design Group, the
   outdoor area is the first step in connecting the Roundhouse to the museum’s main
   building with a pedestrian-friendly landscape. At the same time, the interior of the
   building has been cleaned, and has already hosted its first major art event. Though the
   original plan to convert the interior into white-wall galleries has been put on hold,
   crowds happily flocked to catch a glimpse of one of Burnham’s most utilitarian
   projects.




   Unable to convert the Roundhouse into whitewall gallery space, DuSable opted to leave the interior in its
   original timber and iron form.

   Much to the joy of architects and preservationists alike, the soaring heavy timber dome
   has survived in excellent condition. The web of large pine timbers is supported by the
   limestone walls and cast-iron columns, which all look as though they were recently

https://archpaper.com/2017/12/chicagos-dusable-museum-roundhouse/                                                      2/4
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   constructed. At 150 feet across, the space is a welcome addition to Chicago’s catalogue
   of impressive civic interiors.

   The Roundhouse was the site of this year’s edition of EXPO CHICAGO, which hosted
   large-scale installations curated by Paris’s Palais de Tokyo. Coinciding with the
   opening of the Chicago Architecture Biennial, the exhibition, Singing Stones,
   commissioned Chicago- and Paris-based artists to create massive works. The height of
   the space allowed for tall hanging pieces, while the round walls intensified another
   work, which utilized ambient sound. Yet another installation addressed the few
   windows, a clerestory near the dome’s pinnacle, with colored films, filling the room
   with rainbow light during the day.

   While the Roundhouse may never reach the level of museum refinement and
   environmental control previously planned, it will continue to be updated and made
   ready for more exhibitions and events. It is currently scheduled to be complete by the
   time the Barack Obama Presidential Center opens on the other end of the University of
   Chicago’s campus in 2021. The DuSable has already begun conversations with the
   center to ensure exhibitions in both institutions are complementary. Until that time,
   architects can only hope the museum will occasionally open as it has for EXPO, letting
   the world in to see just how architectural a horse stable can be.

     Art Museums          Chicago       Daniel Burnham          Historic Preservation   Timber


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                                 EXHIBIT R




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     Home » Articles » DuSable Museum of African American History




      DUSABLE MUSEUM OF AFRICAN
      AMERICAN HISTORY
      By admin on November 30, 1999
                                                                                An Interview with Librarian Beatrice "Bea" Julian
                                                                                How did the DuSable Museum of African
                                                                                American History come to be?

                                                            The DuSable Museum of African American
                                                            History (http://www.dusablemuseum.org)   is the
                                                            oldest major African American self-governing
                                                            museum designated to collect, interpret and
                                                            preserve the achievements, experiences and
                                                            history of African Americans.  It is the only
      independent institution in Chicago established for this purpose.  Being located in Chicago, one of the
      greatest migration centers for African Americans since the turn of the last century has given the
      DuSable Museum the unique position of receiving largely private donations ranging from one item to
      entire collections. The museum’s 40 plus year history of collecting and exhibiting art and artifacts by
      and about people of the African Diaspora and mother continent places it in a position of
      connoisseurship.
       
      Begun as the Ebony Museum of Negro History and Art and then changed to the Museum of Negro
      History and Art, the DuSable Museum was organized by an interracial group of eleven Chicago artists,
      educators, and activists lead by Dr. Margaret Burroughs and her husband Charles.  The museum

http://www.ilovelibraries.org/article/dusable-museum-african-american-history                                                       1/5
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      officially opened its doors in October 1961, housed in the Burroughs’ home located at 3806 South
      Michigan Avenue on the first floor. Which was the historic former home of the prominent contractor
      John Griffith?  By the 1940’s it had been converted into the Quincy Club, a boarding house for
      Pullman Porters and other African American railroad workers, with a public meeting hall that served
      the community.  In 1968, the museum was renamed after the Afro-French entrepreneur and pioneer
      Jean Baptiste Pointe DuSable. The first non-Native American to establish a permanent settlement in
      what was to become Chicago.  Soon the museum began to grow out of its space.
       
      In 1970, the Chicago Park District granted DuSable Museum’s request for the former South Park
      Commission Administration Building built in 1911.  Designed by Chicago architect Daniel H.
      Burnham, it is located in historic Washington Park at 740 East 56th Place.  The museum moved into
      the facility in 1973.  With this move, the museum became the eighth member of the consortium of
      museums located on Chicago Park District land.  It quickly became a center and resource for teaching
      about the African Diaspora, as well as African American history and culture, and a focal point for the
      community.  The museum and its founder Dr. Margaret Burroughs rose to national prominence, and
      African American communities and groups around the country have replicated its model, including
      Boston, Detroit, Philadelphia and Los Angeles.
       
      The museum expanded again in 1993 with a 28,000 square foot addition named after the late mayor
      Harold Washington featuring new galleries and a 450-seat auditorium. With the beginning of a new
      millennium, the DuSable Museum is poised to expand again.  In 2004, DuSable Museum received
      another generous gift from the Chicago Park District, the former roundhouse and stables designed and
      built in 1880 for Washington Park by the architects Daniel H. Burnham and John W. Root, located
      just south of the museum across 57th Street.  With the renovation of this historic building, DuSable
      Museum will be the largest African American Museum in the United States. 
       
      DuSable Museum has a large and diverse permanent collection including archival materials, artifacts,
      books, costumes, photographs and decorative and fine art. The art collection emphasizes artists of
      African descent, themes and topics of African American culture, history, and the African Diaspora,
      dating from the mid-nineteenth century to the present.   
       
      It consists of drawings and prints including those by artist Dox Thrash, the African American print
      collection of artist and collector Ruth Waddy, and the illustrator and graphic artist Henry J. Lewis’
      collection.  It holds paintings by noted masters’ as Henry O. Tanner, Clementine Hunter, William H.
      Johnson, Charles Sebree, James A. Porter and Emilio Cruz. The sculpture collection features works by
      William E. Artis, Richmond Barthe, Elizabeth Catlett and Augusta Savage, and Chicago artist Richard
      Hunt.  Incorporated into the collection is Caribbean art, with an emphasis on Haiti, and a large
      African art collection representing cultures from the four major regions of Sub-Saharan Africa, for
      example: the Yoruba and Senufo from Western Africa, the Pende and Chokwe from Central Africa,
      the Shona and Zulu from Southern African, and Ethiopian art and artifacts from the East.  The
      collection also includes an award winning photography collection, bibliographic files, archival material
      and artifacts related to many of the artists. 
       
      The art collection is noted for its acquisition of Chicago African American artists, and embraces those

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      whose careers or training began in Chicago. It is comprised of artists such as William W. Carter,
      William MacKnight Farrow (the first African American to teach at the Art Institute), William A.
      Harper, Frederic D. Jones, Achibald Motley, Jr., Norman Parham, William E. Scott, Charles White,
      Ellis Wilson, Charles Dawson,  and of course Margaret Burroughs.  Sculptors include Elizabeth Catlett,
      Geraldine McCullough, Marion Perkins, and outsider artist Mr. Imagination.
       
      DuSable Museum hosts a minimum of six exhibitions a year that highlight works of these and other
      leading artists, as well as the history of important local and national individuals and events. It organizes
      lectures, workshops, various cultural and special events, and an annual arts and crafts festival. From its
      small beginnings, the Museum has grown to attract scholars and visitors from around the world.  More
      than 150,000 participants attend or utilize the facility each year.
       
      Tell readers about the library and your role there?

      Although the DuSable Museum does not currently maintain a physical space for a library
      (http://www.dusablemuseum.org/research/library) or publicly accessible archives, I provide the general
      research and reference services performed by a librarian working in a special library, along with
      inventorying and processing books, media resources, and archival materials. Because I am considered a
      staff member of the Curatorial Department, I also perform duties associated with maintaining the
      object collections, installing and deinstalling exhibitions, as well as clerical and administrative tasks
      assigned by the Chief Curator. 

      What might one find in the Museum's Archives? 

      Our print and media resources document the history of African Americans and peoples of African
      descent. Below is a listing of some of my favorite archival collections:
       
      Dawson, Charles Collection. Charles Dawson was an illustrator and portraitist, World War I veteran,
      and youth leader. Having studied at Tuskegee Institute and the Chicago Art Institute, Dawson worked
      for the Chicago Engravers and as a freelance illustrator, as well as in the Chicago section of the
      Federal Art Project. Other posts include co-administrator for the Chicago Work and Training Program
      of the National Youth Administration; designer of the 1940 American Negro Exposition; and curator
      of Tuskegee’s George Washington Carver Museum. Dawson’s papers include original drawings,
      notebooks, correspondence, notes, ephemera, and photographs.
       
      Diggs, Olive Papers. Olive Myrl Diggs (d. 1980), journalist and socialite, worked her way up to become
      editor of the Chicago Bee, a weekly newspaper based at 3647 State Street in Chicago’s South Side. She
      served as editor from 1937 until the paper’s folding in 1947. A graduate of Northwestern University
      and Roosevelt University, Diggs began as the Bee’s auditor, 1929-30; and later served as business
      manager, 1930-34. After the Bee folded, Diggs was acting director of the Human Relations
      Commission of Illinois, and later worked in the Department of Urban Renewal, writing and speaking
      on public housing in Chicago. Her papers include manuscripts, correspondence, pamphlets, and
      ephemera, mostly dating from her tenure as acting director of the Human Relations Commission of
      Illinois.
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      Matlock, Frances Papers. Frances Matlock was a teacher in Chicago area schools for 41 years, from
      1931-1972. A prominent society figure, she participated in several community organizations, including
      the South Side Community Art Center, the Chicago and National Association of Media Women, Inc.,
      the NAACP, the American Negro Emancipation Centennial Authority, and the American West Indian
      Association. She also occasionally wrote articles for the Chicago Defender. Her papers consist mostly
      in archival materials of the American West Indian Association and her notes and research files for the
      exhibition “A Century of Negro Progress,” which was featured at the American Negro Emancipation
      Centennial Exposition in Chicago in 1963.
       
      Montgomery, Lucy Papers. Lucy Montgomery was a civil rights activist and member of an organization
      called the Chicago Area Friends of the Student Non-Violent Coordinating Committee, which was
      organized to support the southern civil rights organization. Her papers include substantial
      research/clippings files arranged by subject, notes and manuscripts, correspondence, and other
      miscellaneous personal papers.
       
      Share a few of the museum's current and upcoming exhibits:

      Current:
      Red, White, Blue & Black: A History of Blacks in the Armed Services: Featuring more than 100
      artifacts, objects, images and documents, "Red, White, Blue & Black," highlights the robust collection
      of militaria from the DuSable Museum’s permanent collection.

      A Slow Walk to Greatness: The Harold Washington Story: This new installation takes a closer look
      into the life and legacy of Harold Washington, twenty years after the passing of the city's first African
      American Mayor. This exhibition will afford a new generation of Chicagoans the opportunity to learn
      about the tremendous impact that mayor Washington had on the city, and the country.

      Additional current and upcoming exhibits can be found at
      http://www.dusablemuseum.org/exhibits/current (http://www.dusablemuseum.org/exhibits/current)
        & http://www.dusablemuseum.org/exhibits/upcoming
      (http://www.dusablemuseum.org/exhibits/upcoming) .  


      For those interested in visiting the DuSable Museum, hours of operation, directions and admission
      information can be found at http://www.dusablemuseum.org/visit/admission-information
      (http://www.dusablemuseum.org/visit/admission-information) .




      Beatrice Julian's Biography
      As an information specialist, writer, and professional storyteller, Beatrice Julian is interested in
      researching and documenting traditional forms of cultural expression. Her varied freelance writing and
      research assignments have resulted in magazine and newspaper articles, essays, elementary school
      textbook units, and poetry. After graduating from the University of Illinois at Champaign, Urbana with
      a master's degree in library and information science, Beatrice began her career as a children's librarian
http://www.ilovelibraries.org/article/dusable-museum-african-american-history                                     4/5
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      with the Chicago Public Library. She left her dream job working with children and young adults at the
      Lorraine Hansberry Library to pursue another dream, writing for children as part of the editorial staff
      at EBONY JR!  In addition to her work in both public and academic libraries, Beatrice has also served
      as coordinator of an adult literacy program (Literacy for Every Adult program, or LEAP), an outreach
      coordinator with a public television station (the Ready to Learn initiative), and a research analyst with
      the Chapin Hall Center for Children. After volunteering at the DuSable Museum Library during her
      high school and college years, Beatrice was delighted to join the staff of the institution founded on her
      birthday. Residence in the new Research Library in the DuSable Roundhouse will be a professional
      dream come true. 


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History




                                                 1857 - 1893: The First Museum in the West
                                                 Founded in 1857, the Chicago Academy of Sciences was founded by nature aficionados
                                                 and amateur scientists seeking a space where they could study and share the specimens
                                                 they collected. It was citizen science in action before the term was even invented! In
                                                 addition to being the first private scientific museum founded in Chicago, the
                                                 Academy became Chicago's first public museum when it opened its doors to all visitors
                                                 in 1869. This action would shape the institution’s educational focus and commitment as a
                                                 community museum.

                                                 Under the guidance of early naturalists such as Robert Kennicott and William Stimpson,
                                                 the Academy’s scientific collection grew exponentially in both size and importance. In
                                                 fact, by 1870 the Academy had the fourth largest natural history museum collection in the
                                                 entire nation.

                                                 The Great Fire of 1871 devastated both the city of Chicago and the Academy. The
                                                 Academy’s building and holdings were decimated, including materials housed in a
                                                 special “fireproof” vault. Despite this heavy blow, the Academy’s naturalists and scientists
                                                 began rebuilding the collection under the direction of Academy Director and malacologist
                                                 William Stimpson, Academy President (and one of the original founders) Dr. Edmund
                                                 Andrews, and Academy Secretary Dr. Jacob W. Velie.

                                                 Read more about some of the fascinating people who rebuilt and became advocates for
                                                 the Chicago Academy of Sciences. >>



    The Matthew Laflin Memorial Building
                                                 1894 - 1998: A Fresh Start in Lincoln Park
circa 1900
                                                 The Chicago Academy of Sciences’ search for a new, more permanent home was
                                                 realized with an offer from Chicago pioneer and businessman Matthew Laflin in 1892.
                                                 Laflin offered to provide 75% of the funds towards the construction of a new building in
                                                 Lincoln Park, while the remaining 25% came from the Lincoln Park Board of
                                                 Commissioners. The cornerstone of the building was laid on October 10, 1893, and the
                                                 building itself, known as the Matthew Laflin Memorial Building, officially opened on
                                                 October 31, 1894. For 100 years, the Laflin Building was the home of the Academy.
                                                 There, natural history sprang to life through richly detailed dioramas filled with local flora
http://www.naturemuseum.org/the-museum/history                                                                                               1/3
1/31/2019                            and fauna.
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                                                               02/05/19 accessible
                                                                       Nature      museum
                                                                              Museum
                                                                            Page          collection
                                                                                   26 of 38 PageID   were staples of the
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                                                  flourishing Academy.

                                                  In its new home, the collection was not only rebuilt, but became the definitive vehicle to
                                                  study the natural history of Chicago and the region. By 1900, the Academy had
                                                  established itself as the leading educational resource for area teachers and students. It
                                                  developed teaching programs, not only for students, but also continuing education and
                                                  certification for teachers that focused on understanding and interpreting the natural
                                                  sciences. It established a Children’s Library to promote science education and engage
                                                  young people in the study of natural sciences. In the 1960s, the Academy introduced the
                                                  Junior Academy of Sciences, aimed at middle and high school children to provide
                                                  additional learning opportunities, and in 1983, an Education Department was formally
                                                  established.

                                                  Learn more about the Education Department here. >>


                                                  1999 - Present: The Urban Gateway to Nature and Science
                                                  As the 20th Century came to a close, the Chicago Academy of Sciences began initiating
                                                  plans to expand the Laflin Building and to provide more room for exhibitions, collections
                                                  storage, and office space. At the same time, the Lincoln Park Zoo also began looking to
                                                  expand their operations. The Chicago Park District offered the Academy the opportunity
                                                  to build a new museum building on the site of the Park District’s North Shops
                                                  Maintenance Facilities in exchange for transferring the Academy’s Laflin Building to the
                                                  Lincoln Park Zoo. In 1997, the Academy broke ground for its new building in Lincoln
                                                  Park. In recognition of a significant donation given to the Academy by Dick and Peggy
                                                  Notebaert, the building was named the Peggy Notebaert Nature Museum.

                                                  Chicago’s explosion of urban growth at this time ground away the natural landscape and
                                                  local flora and fauna, making it easy for residents to lose their connection to nature.
                                                  People were starving for an authentic connection to the natural world and a place in our
                                                  urban area where they could experience the sights, sounds, and smells of nature. The
                                                  official opening of the Academy's Peggy Notebaert Nature Museum on October 23, 1999
                                                  filled this void. Known for its iconic Judy Istock Butterfly Haven and providing more
                                                  hands-on science instruction than any other museum in Chicago, the Nature Museum
                                                  has become one of the city's most attended institutions. The Nature Museum has given
                                                  visitors the opportunity to create an authentic connection to nature, and has provided the
                                                  Academy with a new opportunity to build on its legacy of hands-on science education,
                                                  scientific research, and citizen science.

                                                  Join us at the Nature Museum today and make your connection to nature and science!

                                                  Still curious? Click here to explore our interactive timeline.




  2430 N. Cannon Dr., Chicago IL 60614       Phone: 773-755-5100      Hours: Mon-Fri 9:00AM-5:00PM Sat-Sun 10:00AM-5:00PM


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http://www.naturemuseum.org/the-museum/history                                                                                              2/3
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                      A Conservatory, a Zoo, and 12,000
                                 Corpses 
        An artist digs for the truth about Lincoln Park and the Chicago City Cemetery.
                                                          By Robert Loerzel



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     O      ne day in the 1970s, when Pamela Bannos was a teenager,
            she was riding in the back of her father's car as he turned off
            Lake Shore Drive onto LaSalle Street. Looking out the window,
     she noticed an old stone structure standing in Lincoln Park.
     Surrounded by a chain-link fence and a wall of weeds, it looked like
     it might be a tomb. The word couch was just visible on its crest.
     What is that? she wondered. And if it is a tomb, what's it doing in the
     park?

     It was in fact a tomb, and as she would later learn, the park had once
     been a cemetery. On a winter night about a year and a half ago,
     Bannos—now an artist and a senior lecturer in photography at
     Northwestern University—drove down the same stretch of LaSalle.
     Once again the Couch mausoleum caught her eye. But the Park
     District had cleaned it up in 1999 and now it looked beautiful, all lit
     up on the snowy ground behind the Chicago Historical Society. She
     started wondering again what it was doing there.

     Not long after that she noticed that the Chicago Tribune had made
     its entire archives, dating back to 1852, searchable online. First, like
     anyone discovering a new search engine, she typed in her own
     name. And then she ran a search for "couch tomb."

                                                         –– ADVERTISEMENT ––




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     Numerous articles popped up—and numerous explanations for why
     the grand tomb of millionaire hotelier Ira Couch had been left
     behind when the Chicago City Cemetery was transformed into
     Lincoln Park. Some reported that the Couch family had fought
     against it being moved. One speculated that political clout was
     involved. Another made a vague reference to an Illinois Supreme
     Court case. Other reporters wrote that it had simply been too heavy.

     Intrigued by the way the story seemed to change each time it was
     told, Bannos began searching for articles about the cemetery itself. It
     didn't take her long to notice something else that was strange.
     Although history books suggest all the graves were moved out in the
     1860s, bones have turned up since then, both in Lincoln Park and in
     an adjacent area where the Catholic cemetery was located. The
     question of what actually happened to the bodies became an
     obsession for Bannos, who's explored it in a multimedia art project
     called Hidden Truths, opening this week in the park.

     "I feel like I've given up my life to this project," says Bannos, now 48.
     "I've been working for 16 hours a day on this for the last year."

     This week, with permission from the Park District, Bannos will place
     six signs in Lincoln Park, each telling a part of the cemetery's
     forgotten history. Made with $10,000 in grant money from
     Northwestern, they'll stay up until November 21. Bannos is also
     launching a Web site, hiddentruths.northwestern.edu, with hundreds
     of documents, articles, maps, and pictures—her favorite being an
     1852 watercolor of a picket fence by the man who bid successfully
     on a contract to build a mile-long fence around the cemetery.
     Bannos plans to write a book about her findings as well.

     While the project may sound more like historical research than art,
     she says, "what an artist does is show you something in a new way....
     There's always something more than what meets the eye."

     Russell Lewis, chief historian at the Chicago History Museum
     (formerly the Historical Society), says Bannos's new project is the
     most thorough exploration of the cemetery's history he has seen. "I
     don't know that anybody else has done the work that she has done,"
     he says. "She found some very impressive stuff."

     "It's really fascinating," says Julia Bachrach, the Park District's
     historian. "There's never really been a reason for me to go into the
     early history. She was focusing on the cemetery. I've always focused
     on the parks."


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     The story Bannos pieced together begins in 1843, when Chicago
     established the City Cemetery northeast of Clark and North. The
     grounds eventually extended north, approximately to Armitage. The
     poor were buried in a potter's field, located where baseball
     diamonds are now. In 1859 John Rauch, a prominent Chicago
     physician who would later become the city's sanitary superintendent
     and president of the Illinois State Board of Health, began calling for
     the cemetery to be closed. He feared that corpses were oozing
     disease into Lake Michigan and contaminating the air.

     City officials set aside 60 acres north of the cemetery as a park in
     1860, naming it for President Lincoln after he was slain five years
     later. In 1864 an ordinance instructed the city to end burials in the
     City Cemetery except in lots it had already sold, and to turn the
     cemetery's north end into parkland as well. But the burials went on.
     During the Civil War almost 4,000 Confederate soldiers who died as
     prisoners at Camp Douglas on the south side were buried in the City
     Cemetery, including 1,107 in the first eight months of 1865. That
     September the Common Council passed a resolution insisting that
     its 1864 ordinance be followed, and the following April it approved
     an ordinance ending burials completely. (Some families were already
     moving bodies to newer cemeteries, such as Graceland, that they
     considered more elegant. An April 1866 letter in the Tribune
     complained that undertakers were violating the law by filling up the
     recently emptied graves with fresh bodies.) In 1867 most of the
     soldiers' bodies were moved to Oak Woods Cemetery, near what's
     now Jackson Park.

     In 1869 the new Lincoln Park Commission took control of the land,
     but documents show it lacked the money to make any
     improvements. A year later the Tribune reported that half the
     cemetery's purchased graves were still there, along with all 25,000
     bodies in the potter's field. "It is rapidly falling into decay," the
     newspaper said.

     Officials implored the owners of cemetery lots to move the bodies,
     but few complied, Bannos says. A Common Council document from
     April 1871 had park officials reporting that they'd "devoted their
     attention" to protecting the shoreline and constructing Lake Shore
     Drive. There was no mention of the graves.

     Then came the Great Chicago Fire, sweeping through what remained
     of the cemetery on October 9, 1871, and destroying many markers.
     (As she delved into the history of the Chicago City Cemetery, Bannos
     found herself sniffing old property records and council minutes,
     convinced that she could smell the fire on them.) Afterward officials
     removed the remaining headstones and vaults—except for the
     Couch tomb. Bannos now believes that tomb stayed where it was
     because the park commission couldn't afford the $3,000 it would've
     cost to move it.


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     The city began transferring bodies from the potter's field to a
     graveyard for the poor at Dunning, the poorhouse, TB hospital, and
     insane asylum run by Cook County on what's now Chicago's
     northwest side. On September 18, 1872, a Tribune headline
     announced: "The Remains of Over 10,000 Dead Persons Still to Be
     Taken Away." The article said a crew of ten men was hauling out
     bodies at the rate of 20 per day. Less than a month later, the paper
     reported that nearly all of the bodies had been removed without
     explaining how the task had been completed so quickly. Bannos is
     skeptical.

     In April 1874, park commissioners, apparently tired of waiting for
     the families to step up, condemned 712 cemetery lots, each of which
     could have contained as many as eight graves. Park records show
     bodies being disinterred as late as 1887.

     Asked why she thinks some were left behind, Bannos says, "It's not
     as if someone wasn't doing their job or someone was lying. It just
     got very confusing."

     Historian A.T. Andreas only made things worse when he published
     his three-volume History of Chicago between 1884 and 1886.
     Andreas inaccurately described the Milliman tract, a 12-acre section
     of the cemetery that had been the subject of a lawsuit, as if it were
     the entire cemetery and implied that the cemetery had been
     emptied. "That was the basis of several of the history books," Bannos
     says. "That becomes the source material, and that gets quoted."

     Based on the records she examined, Bannos tallied 35,000 people
     buried in the City Cemetery and the Catholic cemetery, which was on
     the other side of North Avenue between Dearborn and Astor,
     extending south to Schiller. After counting the bodies moved to
     Graceland and estimating the number moved to other cemeteries,
     she calculated that no more than 22,500 bodies were taken out of
     the Lincoln Park graveyards. That leaves more than 12,000
     unaccounted for.

     "The numbers are astounding," Bannos says. "To say thousands,
     which sounds exorbitant, is conservative."

     Asked if it's likely that thousands of bodies were left behind, the
     History Museum's Russell Lewis says, "A lot of these things are
     speculation. Her speculation is as good as anyone's, but some of
     these are questions that can't be answered."

     The Park District's Julia Bachrach says the ground is undoubtedly
     filled with bones, but she prefers not to use the word "bodies" to
     describe them. "That makes it sound like a graveyard, and it's not,"
     she says. "The land has been disturbed too much. It's skeletal
     remains."



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     Bannos found ten reports of bones being discovered on parkland,
     plus nine more in the residential neighborhood where the Catholic
     cemetery used to be. In 1899, when workers were digging in that
     area, the Tribune reported that "recent excavations exposed row
     after row of the heads of coffins in a state of good preservation."

     Former Lincoln Park Zoo director Lester Fisher told Bannos that
     workers found a skeleton and casket when they dug the foundation
     for the zoo's barn in 1962. After getting no guidance from
     bureaucrats on what to do, they reburied the casket and poured the
     foundation on top of it, Fisher told Bannos. (A recording of the
     interview will be on her Web site.)

     When archaeologists oversaw the excavation for the Chicago History
     Museum's parking garage northeast of Clark and LaSalle in 1998,
     they found pieces of what appeared to be 81 different skeletons as
     well as an iron coffin containing a body, Bannos says. The coffin was
     reburied in another cemetery, and the loose bones are now in the
     Illinois State Museum's collection. To this day, "anytime you do any
     digging out in the park, it's not unlikely you'll find some human
     bones," Lewis says.

     Just last week construction workers unearthed another bone at 1453
     N. Dearborn, between Burton and Schiller; at press time an
     investigation was under way but police speculated in the Tribune
     that the site might have been a cemetery. They might want to give
     Bannos a call.v

     history




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About
History
In 1964, a group of collectors, art dealers, artists, art critics, and architects
united with a shared belief that the city of Chicago deserved a contemporary
art museum dedicated to exploring the new. The institution’s founders
originally conceived of the museum as a Kunsthalle, or a noncollecting “art hall”
that organized and hosted temporary exhibitions of new and experimental
artists.




Chicagoans congregate around Christo’s ﬁrst building wrap in the United States. Christo and Jeanne-Claude, Wrap In, Wrap Out, 1969. Installation
view, Jan 18–Mar 2, 1969. Photo: Harry Shunk.

Since the MCA opened its doors in 1967, in a small building at 237 East Ontario Street (the former Playboy
headquarters), we have featured the work of emerging artists, many of whom would go on to inﬂuential careers.
Under the direction of curator and art historian Jan van der Marck, the founders and staﬀ sought to nurture
experimentation and “collaboration among practitioners of today’s many-faceted art expressions” and to amplify
the innovative exhibitions with “lectures, symposia, roundtable discussions, ﬁlms and musical performances.” From
day one (literally) we took an interdisciplinary approach, featuring composer John Cage and Fluxus artists Alison
Knowles and Dick Higgins asking, “What Did You Bring?” in the ﬁrst of many Happenings and avant-garde
performances that the museum would present. Dan Flavin’s neon tubes lit up the museum’s original gallery in his
ﬁrst solo show.
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As we became more established, programs also brought a social awareness and engagement to the breadth of
experimental activities. The museum’s curators organized Violence! In Recent American Art (1968), which
addressed the violence and cultural tumult of the moment. We also partnered with the Conservative Vice Lords,
Inc. on Art and Soul, a pilot program to establish a neighborhood art center with an art studio, library, and classes
in Lawndale on Chicago’s West Side. In 1969, we became the ﬁrst building wrapped by Christo in the United
States. That same year, we also organized the inﬂuential Art by Telephone, for which our staﬀ executed art works
onsite following the instructions phoned in by artists like John Baldessari, Sol LeWitt, Bruce Nauman, and Robert
Smithson.




Bruce Nauman, Jump. Museum staﬀ member carrying out Nauman’s telephoned instructions to perform a movement in front of a video recorder.
The videotape was played back during the exhibition in the spot where it was ﬁlmed. Photo © MCA Chicago.

The following year, we hosted solo exhibitions of Roy Lichtenstein, Robert Rauschenberg, and Andy Warhol,
kicking oﬀ a decade during which we solidiﬁed our unique blend of exhibitions and programming and transitioned
from a Kunsthalle to a collecting museum. Exhibitions included compelling locally inspired shows like Murals for the
People (1971), in which four artists turned the MCA’s galleries into their workspace to create wall-size panels that
are exhibited in various Chicago neighborhoods, and major displays of the works of Lee Bontecou (1972) and
Frida Kahlo (1978). We further diversiﬁed our eclectic programming with a variety of ﬁlm series, lectures, and
performances by Von Freeman, Philip Glass, Steve Reich, Trisha Brown, and many others. Bodyworks (1975)
exempliﬁed our multidisciplinary approach by supplementing the exhibition with a series of ﬁlms and in-gallery
performances by artists, most memorably Chris Burden’s Doomed. In this famous work, Burden lay on the gallery
ﬂoor behind a large pane of glass for more than 40 hours with no break or sustenance until MCA employee
Dennis O’Shea ended the performance by placing a container of water behind the glass within Burden’s reach.
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Installation view, Bodyworks, MCA Chicago, Mar 8–Apr 27, 1975. Work shown: Chris Burden’s Doomed, 1975, Photo © MCA Chicago.

With a donation from the artist Marisol in 1968, the Board formally established our permanent collection in 1974,
which eventually spurred the need for a larger space that could display the newest art as well as the burgeoning
collection. We marked our 10th anniversary by purchasing an adjacent three-story townhouse to facilitate an
expansion. In 1978, we took advantage of the renovation period by inviting Gordon Matta-Clark to create
a temporary intervention for which he sawed through the walls, ﬂoors, and roof of the townhouse, exposing the
inside of the building to the elements and creating extraordinary and otherwise impossible views of the interior
and the world around it.

By the 1980s and early 1990s, we became further established as an important platform for experimental
contemporary art. The museum hosted Jeﬀ Koons’s ﬁrst solo museum show. We introduced audiences to artists like
Martin Puryear (1980) and Jenny Holzer (1987). There were major exhibitions featuring the work of Vito Acconci
(1980), Nam June Paik (1982), Nancy Spero (1988), and Robert Mapplethorpe (1989), Romare Bearden (1991),
Robert Rauschenberg (1992), Lorna Simpson (1993), and Andres Serrano (1995). Educational programs thrived,
oﬀering a wide range of classes, readings by notable writers like John Cheever, talks by speakers ranging from
Studs Terkel to Lucy Lippard, and performances by Laurie Anderson and others.

Due to our continued growth, we began to feel the need for a new home, and in 1990, we signed a 99-year
lease on the site of the Illinois National Guard’s Chicago Avenue Armory. Again, we recognized a construction
project as an opportunity for artistic inquiry and in 1992 staged a site-speciﬁc exhibition, Art at the Armory:
Occupied Territory in the vacant building before its demolition. In 1996, a building designed by Berlin architect
Josef Paul Kleihues opened on the summer solstice, welcoming more than 25,000 visitors during a 24-hour public
preview. Although we had always blurred the lines between art and performance, we formally established the
Performance department, later to be called MCA Stage, that same year. The new site and programming quickly
proved successful. After one year of operations in our new home, attendance, revenues, and membership
quadrupled. We ﬁnished the 1990s with exhibitions such Art in Chicago, 1945–1995, a landmark survey of Chicago
artists and artistic traditions, as well as solo shows featuring Cindy Sherman (1998), Chuck Close (1998), Sarah Sze
(1999), and Charles Ray (1999).
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Illinois National Guard’s Chicago Avenue Armory. Photo © MCA Chicago.
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Installation view, MCA Chicago Plaza Project: Yinka Shonibare, MCA Chicago, Jun 16–Nov 10, 2014.

In the new millennium, we have continued to support the local arts scene while also presenting globally
renowned contemporary art and performance. The 12 × 12 series featured work by a diﬀerent promising Chicago
artist each month, giving audiences early looks at artists like Rashid Johnson (2002). A number of major exhibitions
by artists who had shown at the MCA early in their careers also took place as well as exhibitions of early and
mid-career artists such as Catherine Opie (2000) and Olafur Eliasson (2009).
In 2011, under the leadership of Pritzker Director Madeleine Grynsztejn and James W. Alsdorf Chief Curator
Michael Darling, we reimagined and restructured the museum's approach to exhibitions, dedicating speciﬁc
gallery spaces to thematic permanent collection shows, ascendant artist solo shows, and three new exhibition
series: MCA DNA, Chicago Works, and MCA Chicago Plaza Project. While MCA DNA explores the museum’s history
and iconic works from the collection, Chicago Works highlights the work of Chicago area artists who are
somewhat more established but may not be widely recognized such as Lilli Carré (2013) and Faheem Majeed
(2015). The Chicago Works exhibitions are larger and on view for longer than the previous 12 × 12 series,
demonstrating a deepened commitment to new art and local artists. Our plaza project series extends the museum
out into the public sphere, transforming our front plaza into an extra gallery space for giant installations. We also
established an artist residency, which takes a diﬀerent form with each individual artist, from Mark Bradford’s
socially engaged work with Chicago teens to Martin Creed’s playful neon sculpture MOTHERS.
As we move beyond our ﬁrst 50 years, we now possess a substantive history of our own. Expanding on that past,
we continue to welcome the public to explore and share in today’s most experimental and intriguing
contemporary art and performance.
—Mary Richardson, Library Director



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                                                                         veterans, and anyone 18 and under
Directions
                                    Tue 10 am–9 pm
                                                                         Admission is free for Illinois
Contact Form                        Wed–Thu 10 am–6 pm
                                                                         residents on Tuesdays, year-round
General: 312-280-2660               Fri 10 am–9 pm
Box Oﬀice: 312-397-4010             Sat–Sun 10 am–6 pm
Store: 312-397-4000                 Mon Closed*
Marisol: 312-799-3599
                                    Closed on New Year's Day,
                                    Thanksgiving, and Christmas
                                    Closes at 5 pm on Labor Day and
                                    on the eves of Thanksgiving,
                                    Christmas, and the New Year
                                    *The museum, store, and restaurant
                                    are open on select holiday
                                    Mondays; view the complete list on
                                    our Visit page.
